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 John Rue (047032005)
 John Rue & Associates, LLC
 40 S. Fullerton Ave., Ste. 29
 Montclair, New Jersey 07042
 (862) 283-3155
                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


M.A.,                                      )
                                           ) Civil Action No. 3:20-cv-05218
              Plaintiff,                   )
                                           )
v.
                                           )        CERTIFICATION OF
Wall Township Board of Education,          )              JOHN RUE
                                           )
              Defendant.                   )
                                           )


 I, John Douglas Rue, Esq., of full age, hereby certify as follows:

        1.     I am an attorney at law in the State of New Jersey and I am the Principal

 of John rue & Associates, LLC (“JR&A”), which represents plaintiff M.A.

 (“Plaintiff”) in this matter. As such, I am personally familiar with the facts contained

 herein.

        2.     I make this Certification, based on my personal knowledge and review

 of my firm’s records, in support of Plaintiff’s application for an award of attorney’s

 fees and expenses in the above-captioned action.

        3.     I received my BA (Hons.), from Nottingham Trent University in 1990

 and an MFA from Sarah Lawrence College in 1993.
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       4.     I received my J.D., magna cum laude, from Fordham Law School in

 2004, where I was a Notes and Articles Editor of the Fordham Law Review, and

 published a student Note. See John D. Rue, Returning to the Roots of the Bramble

 Bush: The "But For" Test Regains Primacy in Casual Analysis in the American Law

 Institute's Proposed Restatement (Third) of Torts, 71 Fordham L. Rev. 2679 (2003),

 available at https://ir.lawnet.fordham.edu/flr/vol71/iss6/8.

       5.     I am admitted to practice before the courts of the State of New Jersey,

 the State of New York, the United State District Court for the District of New Jersey,

 the Southern District of New York and the Eastern District of New York, the United

 State Court of Appeals for the Second and Third Circuits, and the United States

 Supreme Court.

       6.     I began my legal career at White and Case LLP as an Associate in that

 firm’s Litigation practice group. While there, I was able to do a great deal of special

 education pro bono litigation, primarily in New Jersey. In 2014, I began my own

 practice, focusing on special education and civil rights litigation in New Jersey.

 When I left White & Case in 2012, my undiscounted billing rate for commercial

 clients was $690.00 per hour.

       7.     I now spend most of my professional time representing parents of

 children with disabilities and the Innisfree Foundation (as its outside counsel) in

 disputes with public schools.


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       8.    As Principal of JR&A, I am responsible for setting the billing rates for

 me and the attorneys, law clerks, and paralegals that work for and with me. I have

 set the billing rates for attorneys and support staff at JR&A based on education,

 training and experience as follows:

       •     John Rue (Principal):               $495 per hour (admitted 2005)
       •     Donald Soutar (Partner):            $485 per hour (admitted 1999)
       •     Robert Thurston (Of Counsel):       $485 per hour (admitted 1988)
       •     Lisa Quartarolo (Counsel):          $385 per hour (admitted 1998)
       •     Frank Geier (Associate):            $385 per hour (admitted 2005)
       •     Kenneth Walk (Associate):           $275 per hour (admitted 2019)
       •     Latiah Griffin (Law Clerk):                $220 per hour per hour
       •     Paralegal work (by whomever performed):             $165 per hour

       9.    I was predominantly assisted on this matter by Donald A. Soutar, who

 was formerly the Managing Partner of JR&A.

             a. Mr. Soutar has practiced in the area complex commercial litigation

                 for 19 years, and since April 2018, has focused on education law,

                 representing parents.

             b. From 1999 through 2011, Mr. Soutar was associated with Day

                 Pitney LLP, first as an Associate and rising to Senior Counsel,

                 where his practice focused on commercial litigation.

             c. From 2011, he was an Associate at Weitz & Luxenberg, PC, where

                 his practice focused on mass tort and class action matters. Mr.

                 Soutar joined JR&A as Counsel in April 2018 and was promoted to


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               Partner at the end of 2018, and to Managing Partner shortly

               thereafter.

            d. Since joining John Rue & Associates, Mr. Soutar has focused

               predominantly on education and special education matters,

               including handling cases from inception through hearing in the

               Office of Administrative Law (“OAL”), and litigating in the federal

               and state courts of New Jersey.

            e. In the attached pro forma Invoice, JR&A’s billing rate for Counsel,

               Mr. Soutar’s position at the start of this case, is $440 per hour. His

               hourly rate as a partner, beginning January 1, 2019, increased to

               $485. (Mr. Soutar worked a total of 175.7 hours on this matter. He

               worked 38.5 hours at $440 per hour and 137.2 hours at $485 per

               hour.)

            f. Mr. Soutar retired from JR&A in December 2021.

      10.   I was also assisted by:

            a. Lisa Quartarolo, Esq., who was admitted to the bar in 1998 and has

               extensive experience representing parents of students with

               disabilities;




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                 b. Kenneth Walk, Esq., who was admitted to the bar in 2019 and joined

                    JR&A to fuse his experience as a public-school administrator with

                    his legal career;

                 c. Frank Geier, who was admitted to the bar in 2005, and works part-

                    time for JR&A;

                 d. Latiah Griffin, who was a “law clerk” at the time that she worked on

                    this matter. Ms. Griffin was admitted to the New Jersey bar in

                    September 2020; and

                 e. Sean Dalrymple, Paralegal.

        11.      Following Mr. Soutar’s retirement from JR&A, Robert Thurston, Esq.,

 who is Of Counsel to JR&A, assumed primary responsibility for this matter. Mr.

 Thurston has been an attorney for more than thirty years, has run his own firm since

 2005, and has extensive experience representing parents and students with

 disabilities.

        12.      Plaintiff, originally through her mother because she had not reached the

 age of majority, retained JR&A on February 22, 2017.

        13.      Over the nearly five years that it has represented the Plaintiff, JR&A

 has performed a large variety of services for Plaintiff. For example, from February

 2017 through May 2018, JR&A provided legal advice and engaged in advocacy

 efforts of behalf of Plaintiff, but those efforts did not involve litigation. During that


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 period, Plaintiff incurred attorneys’ fees in the amount $25,641.20. Inasmuch as

 those advocacy efforts did not involve litigation before the OAL or this Court,

 Plaintiff is not seeking to recover those costs.

         14.   JR&A performed other related services on behalf of Plaintiff that were

 the subject of a separate engagement agreement. Plaintiff is not seeking to recover

 those costs,either.

         15.   Rather, Plaintiff is seeking only those costs that began to accrue on June

 12, 2018 related to Plaintiff’s Parental Request for Mediation, which is the genesis

 of this matter.

         16.   Attached hereto as Exhibit A is a true copy of a pro forma invoice

 created from the billing records for this matter.

         17.   In total, JR&A attorneys and staff spent a total of 376.85 hours and

 Plaintiff incurred attorneys’ fees of $153,222.25, for a blended hourly rate of

 $406.59, as follows:

                                                                              Blended
  Phase                 Activity                     Hours         Fees       Hourly
                                                                               Rate
    I      Preparation of the Mediation
           Request through the District’
           filing of its Motion to Dismiss
           (Jun. 2018 – Mid-Dec 2018)               103.10       $36,971.00   $358.59
    II     District’s Motion to Dismiss
           through Dismissal Order
           (Mid-Dec. 2018 – Jan. 31, 2019)          103.80       $48,183.00   $464.19
   III     Appeal to the District of New
           Jersey                                   154.45       $63,465.25   $410.91
                                            6
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          (Feb. 2019 – Nov. 29, 2021)
   IV     Post-Judgment/Fee Application
          (Nov. 30, 2021 – Feb. 9, 2022)          34.00          $16,191.00 $476.21
                                  TOTALS          395.35        $164,810.25 $416.87

        18.   In addition, Plaintiff incurred expenses in the amount of $412.00,

 consisting of this Court’s filing fee and postage.

        19.   In total, Plaintiff incurred attorneys’ fees and expenses in the amount

 of $165,222.25.


       I certify that the foregoing statements are true. I am aware that if any of the
 foregoing statements are willfully false I am subject to punishment.
 Dated: February 10, 2022
                                         s/ John D. Rue
                                         John D. Rue




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                Exhibit A
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 John Rue & Associates, LLC
 40 S Fullerton Ave, Ste 29
 Montclair, NJ 07042
 862-283-3155


 Bill To:

 D
   REDACTED
          REDACTED

 REDACTED
 Spring Lake Heights, New Jersey 07762




                                                           INVOICE
                                                           Invoice #          1357
                                                           Invoice Date       Feb 10, 2022
                                                           Matter #           C00190
                                                           Due                Due Upon Receipt
                                                           Case/Matter        Augustyn Flat Fee


 Date                Staff   Description                        Rate          Hours     Amount

 ******                      Fees (June 2018-January 2022)        ******
 Jun 12, 2018        DS      Review client email; attend to $440.00           1.7          $748.00
                             strategy concerning same; review
                             draft mediation request; phone call
                             with client (D. Augustyn) re:
                             Mediation      Request;      review
                             Mediation Request per client
                             comments; draft email to client with
                             comment and instructions regarding
                             Mediation Request
 Jun 13, 2018        JR      Attention to mediation request.        $495.00   2.5        $1,237.50

 Jun 13, 2018        DS      Phone call with client; revise draft $440.00     2.3        $1,012.00
                             Mediation Request; draft email to
                             client sending same to client; work
                             with client to obtain fax copy of
                             signed mediation Request; clean up
                             and file same; finalize Rue letter to
                             adversary counsel re: service of
                             Mediation Request
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  Jun 22, 2018   DS      Review      mediation     scheduling     $440.00   0.3     $132.00
                         email; attend to same
  Jun 24, 2018   JR      Email communications re mediation        $495.00   0.2      $99.00
                         confirmation.
  Jun 25, 2018   LA      Attention to email correspondence        $220.00   0.5     $110.00
                         re in-office meeting and upcoming
                         mediation
  Jun 25, 2018   JR      Attention to scheduling; client          $495.00   0.5     $247.50
                         communications re same; attention
                         to confirmation of mediation
                         request;     attention    to     DOE
                         communication re same.
  Jun 25, 2018   DS      Review file re: acknowledgment of        $440.00   0.3     $132.00
                         mediation and scheduling; draft
                         email to client re: same
  Jun 26, 2018   DS      Exchange emails with Mediation           $440.00   0.6     $264.00
                         scheduler and adversary counsel;
                         draft "Parent Authorization" letter
  Jun 29, 2018   DS      Review scheduling emails; draft          $440.00   0.3     $132.00
                         email to client re: same and to set up
                         a meeting; review revised Mediation
                         Notice and forward same to client
  Jul 05, 2018   DS      Review Voicemail from client; draft      $440.00   0.4     $176.00
                         email response to same; attend to
                         same
  Jul 10, 2018   LA      Attention to in-office meeting with      $220.00   4.5     $990.00
                         client
  Jul 10, 2018   DS      Client Meeting to prepare for            $440.00   4.3    $1,892.00
                         Mediation
  Jul 31, 2018   DS      Prepare for Mediation                    $440.00   1       $440.00
  Aug 01, 2018 DS        Prepare for Mediation, including $440.00           5.3    $2,332.00
                         preparation     of    grade-change
                         proposal and issue list; phone call
                         with client
  Aug 01, 2018 LA        Attention to discussion and review $220.00         2       $440.00
                         of meeting notes and transcript with
                         DS in preparation for mediation
  Aug 01, 2018 JR        Preparation for mediation            $495.00       2.2    $1,089.00

  Aug 02, 2018 DS        Attend Mediation and related travel      $440.00   4.8    $2,112.00

  Aug 02, 2018 DS        Draft email to client                    $440.00   0.9     $396.00

  Aug 02, 2018 JR        Mediation at Wall Township BOE;          $495.00   5      $2,475.00
                         travel
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  Sep 12, 2018   DS      Review hearing notice; email to          $440.00   0.3     $132.00
                         adversary;      draft     adjournment
                         request
  Sep 12, 2018   DS      Finalize/fax letter; follow-up call to   $440.00   0.3     $132.00
                         client re: adjournment
  Sep 13, 2018   DS      Phone calls to OAL to confirm            $440.00   0.1      $44.00
                         adjournment; email to adversary
  Sep 18, 2018   DS      Email to client; email to adversary      $440.00   0.5     $220.00

  Sep 24, 2018   DS      Review client voicemail and notes $440.00          1.4     $616.00
                         re: same; leave detailed voicemail to
                         client; prepare for Settlement
                         Conference
  Sep 25, 2018   DS      Attend to strategy for Settlement $440.00          3.4    $1,496.00
                         Conference; prepare for same;
                         phone call from client; complete
                         notes for client review; draft email
                         to client
  Sep 26, 2018   DS      Phone call from client                $440.00      0.3     $132.00

  Sep 27, 2018   DS      Phone call with client; prepare for $440.00        6.4    $2,816.00
                         conference; attend OAL Settlement
                         Conference in Trenton, NJ (also
                         attend scheduling conference with
                         trial judge); related travel; confer
                         internally re: same
  Sep 27, 2018   DS      Preliminary research on judge; draft $440.00       0.4     $176.00
                         email to client re: schedule, etc.
  Nov 29, 2018 LQ        TC with DAS to discuss case          $440.00       0.2      $88.00

  Nov 29, 2018 LQ        RESEARCH SOL exemptions and              $440.00   2       $880.00
                         revision of student records
  Nov 29, 2018 LQ        Review documents from file               $440.00   0.4     $176.00

  Nov 29, 2018 LQ        DRAFT Memo to file re: SOL               $440.00   1.3     $572.00

  Dec 03, 2018 DS        Review file and personal notes and $440.00         0.4     $176.00
                         provide copy of most recent H.S.
                         Transcript to L. Quartarolo
  Dec 03, 2018 DS        Respond to request from L. $440.00                 0.3     $132.00
                         Quartarolo re: Due Process Petition
  Dec 03, 2018 LQ        Research statute of limitations     $440.00        0.75    $330.00

  Dec 03, 2018 LQ        File review - to determine issues and $440.00      1.5     $660.00
                         comparison of facts with district
                         policies
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  Dec 04, 2018 LQ        DRAFT Memo to file with updated $440.00         1.5     $660.00
                         information
  Dec 05, 2018 LQ        Meeting with DAS - response to $440.00          0.35    $154.00
                         brief expected 12/14
  Dec 05, 2018 LQ        File Review                     $440.00         0.3     $132.00

  Dec 06, 2018 LQ        Review Audio of IEP meeting and $440.00         1.3     $572.00
                         take notes
  Dec 06, 2018 LQ        File review for documents       $440.00         0.5     $220.00

  Dec 07, 2018 DS        Analyze case file and calendar; draft $440.00   1.1     $484.00
                         detailed email to client re: upcoming
                         motion
  Dec 07, 2018 SD        Pulling REDACTED files for Don.       $165.00   1.3     $214.50
  Dec 07, 2018 SD        Call w Don/Lisa re: IEPs.             $165.00   0.8     $132.00

  Dec 07, 2018 SD        Locating/Sorting IEPs for scanning.   $165.00   0.7     $115.50

  Dec 07, 2018 SD        IEP Document review.                  $165.00   0.4      $66.00

  Dec 07, 2018 SD        SharePoint document review            $165.00   1       $165.00

  Dec 07, 2018 SD        Scanning IEP Docs.                    $165.00   1.4     $231.00

  Dec 07, 2018 SD        IEP Document review.                  $165.00   1.1     $181.50

  Dec 07, 2018 SD        Uploading IEP docs, e-mail to $165.00           0.5      $82.50
                         Don/Lisa re: next steps.
  Dec 07, 2018 LQ        TC with DAS and Sean re: $440.00                0.6     $264.00
                         documents needed from files and
                         from client
  Dec 07, 2018 LQ        File Review for documents       $440.00         0.75    $330.00

  Dec 07, 2018 SD        Scanning Correspondence files.        $165.00   0.5      $82.50
  Dec 10, 2018 SD        Correspondence Docs Review.           $165.00   0.3      $49.50

  Dec 10, 2018 LQ        Review of information in IEPs from $440.00      1.75    $770.00
                         2013-2017      and     notes     of
                         recommendations made in IEPs
  Dec 10, 2018 LQ        TC with DAS                         $440.00     0.2      $88.00

  Dec 10, 2018 LQ        DRAFT chart of recommendations $440.00          0.5     $220.00
                         from IEPs
  Dec 10, 2018 SD        Scanning               Augustyn $165.00         0.2      $33.00
                         Correspondence Docs.
  Dec 10, 2018 SD        Scanning Correspondence Docs.   $165.00         0.5      $82.50
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  Dec 10, 2018 SD        Scanning Correspondence Docs.         $165.00   0.4      $66.00

  Dec 10, 2018 SD        Scanning Correspondence Docs.         $165.00   1       $165.00

  Dec 10, 2018 SD        Scanning Correspondence Docs.         $165.00   0.4      $66.00

  Dec 11, 2018 SD        Sending Lisa e-mail re: REDACTED $165.00        0.1      $16.50
                         files, uploading correspondence
                         docs.
  Dec 11, 2018 SD        Scanning E-mail Docs.            $165.00        0.7     $115.50

  Dec 11, 2018 SD        Formatting Correspondence scans.      $165.00   0.7     $115.50

  Dec 11, 2018 LQ        File Review                           $440.00   1       $440.00

  Dec 11, 2018 SD        Correspondence scans Review.          $165.00   0.2      $33.00

  Dec 11, 2018 SD        Correspondence scans review.          $165.00   0.4      $66.00

  Dec 11, 2018 SD        Searching for Documents requested $165.00       1       $165.00
                         by Lisa.
  Dec 12, 2018 DS        Confer with L. Quartarolo re: $440.00           0.3     $132.00
                         documents and strategy
  Dec 12, 2018 SD        Scanning Evaluations Docs.        $165.00       0.6      $99.00

  Dec 12, 2018 SD        Augustyn Evaluation Docs Review, $165.00        0.9     $148.50
                         e-mail to Lisa re: document
                         location.
  Dec 12, 2018 LQ        Consult with DAS                 $440.00        0.3     $132.00

  Dec 12, 2018 LQ        Review relevant docs with paralegal   $440.00   0.2      $88.00
                         for adding to file
  Dec 12, 2018 LQ        Review files (hard copy) received     $440.00   2       $880.00
                         from District and mark relevant
                         documents to be scanned
  Dec 12, 2018 SD        Scanning Lisa's requested Docs,       $165.00   1.2     $198.00
                         Review.
  Dec 12, 2018 SD        Review/Formatting Lisa's requested    $165.00   0.4      $66.00
                         Docs.
  Dec 12, 2018 SD        Uploading Lisa's requested docs.      $165.00   0.1      $16.50

  Dec 13, 2018 DS        Phone calls to/from D       AREDACTED $440.00   0.4     $176.00
                                              REDACTED




                         re: defense of anticipated dispositive
                         motion
  Dec 13, 2018 LQ        Review hardcopy files from $440.00              2       $880.00
                         previous attorney
  Dec 13, 2018 LQ        Create timeline of key events from $440.00      0.5     $220.00
                         2015-2017
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  Dec 13, 2018 LQ        Update grid and background           $440.00   0.5      $220.00
                         information in preparation for
                         response to motion and due process
                         petition
  Dec 13, 2018 SD        Scanning School work/faculty         $165.00   1.4      $231.00
                         correspondence Docs.
  Dec 13, 2018 SD        Faculty      correspondence/school   $165.00   0.5       $82.50
                         work review/uploading.
  Dec 14, 2018 DS        Review calendar and draft email to   $440.00   0.3      $132.00
                         adversary re: service of MSD
  Dec 14, 2018 SD        Scanning Legal Correspondence        $165.00   1.9      $313.50
                         Docs.
  Dec 14, 2018 SD        Legal               Correspondence   $165.00   0.8      $132.00
                         Review/Uploading.
  Dec 14, 2018 SD        Scanning Progress Reports Docs.      $165.00   1.3      $214.50

  Dec 14, 2018 SD        Progress       Report         Docs. $165.00    0.5       $82.50
                         Review/Uploading.
  Dec 14, 2018 SD        Scanning Trial Docs.                 $165.00   1.2      $198.00

  Dec 14, 2018 SD        Scanning Trial Docs.                 $165.00   0.7      $115.50

  Dec 14, 2018 SD        Trial Docs. Review                   $165.00   0.5       $82.50

  Dec 14, 2018 SD        Trial Docs Review                    $165.00   0.5       $82.50

  Dec 17, 2018 DS        Attention to emails from adversary   $440.00   0.2       $88.00

  Dec 17, 2018 SD        Augustyn Trail Docs Review.          $165.00   0.9      $148.50

  Dec 17, 2018 LQ        Review District Motion for Partial   $440.00   0.5      $220.00
                         SJ and cited case law
  Dec 17, 2018 LQ        Review remainder of documents        $440.00   1        $440.00
                         scanned from student files
  Dec 17, 2018 SD        AREDACTED         Trial      Docs    $165.00   0.9      $148.50
                         Review/Uploading.
  Dec 18, 2018 DS        Attend to strategy for addressing    $440.00   0.2       $88.00
                         District's MSD
  Dec 18, 2018 LQ        Organize documents re: HI, grades,   $440.00   2        $880.00
                         Dr. notes and identify missing
                         documents
  Dec 18, 2018 LQ        Status TC with JDR and DAS           $440.00   0.2       $88.00

  Dec 20, 2018 LQ        Complete Review of File and flag $440.00       2        $880.00
                         documents/question     for DAS
                         discussion with client
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  Jan 02, 2019   DS      Review/respond to internal email re:       $485.00   0.8     $388.00
                         facts; review/revise draft email to
                         client; send email to client,
                         including copy of motion papers
  Jan 02, 2019   LQ      Review legal correspondence and            $440.00   1       $440.00
                         highlight facts for amended DP
  Jan 03, 2019   DS      Review L. Quartarolo email re:             $485.00   0.1      $48.50
                         SOL; respond to same
  Jan 03, 2019   LQ      Research and draft Response to             $440.00   2.5    $1,100.00
                         Motion to Dismiss - section on SOL
  Jan 04, 2019   DS      Phone call from C. L             ; draft   $485.00   0.3     $145.50
                                                 REDACTED



                         email to adversary re: Proof of
                         Attendance [total time divided
                         between two matters]
  Jan 04, 2019   LQ      Draft Response to Motion to                $440.00   3      $1,320.00
                         Dismiss and amended DP - align
                         with mediation request
  Jan 04, 2019   LQ      internal consultation with SD re:          $440.00   0.25    $110.00
                         documents
  Jan 07, 2019   LQ      Research - KOSHK cases                     $440.00   0.5     $220.00

  Jan 07, 2019   LQ      File management - scan and file            $440.00   0.5     $220.00
                         legal correspondence
  Jan 07, 2019   LQ      DRAFT Response to Motion to                $440.00   2.5    $1,100.00
                         Dismiss
  Jan 08, 2019   LQ      Research - establishing KOSHK              $440.00   0.7     $308.00
                         date
  Jan 08, 2019   LQ      File review and draft amended DP           $440.00   3      $1,320.00
                         petition - failure to implement
  Jan 09, 2019   LQ      Research scope of appropriate              $440.00   0.5     $220.00
                         remedy under IDEA
  Jan 09, 2019   LQ      Draft Amended DP petition -                $440.00   1       $440.00
                         Requested Relief
  Jan 10, 2019   LQ      DRAFT due Process Petition and             $440.00   2       $880.00
                         note areas for client input
  Jan 10, 2019   LQ      Correspondence to client to request        $440.00   0.25    $110.00
                         documents needed for amended DP
  Jan 10, 2019   JR      Internal discussions; call with Mr.        $495.00   1.5     $742.50
                         L          .
                           REDACTED



  Jan 14, 2019   LQ      Complete amended DP petition and           $440.00   1.5     $660.00
                         response brief
  Jan 18, 2019   DS      Review draft opposition to motion          $485.00   3      $1,455.00
                         and draft due process petition; begin
                         to revise same
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  Jan 23, 2019   DS      Review/revise draft due process          $485.00   1.9     $921.50
                         petition; work with L. Quartarolo re:
                         same; draft email to client
                         forwarding draft amended due
                         process petition
  Jan 23, 2019   DS      Complete revisions to Due Process        $485.00   3.9    $1,891.50
                         Petition; work with L. Quartarolo to
                         finalize same; draft email to client
                         sending same
  Jan 23, 2019   DS      Work on brief in opposition to           $485.00   0.6     $291.00
                         Motion to Dismiss and in support of
                         Cross-Motion to Amend
  Jan 23, 2019   LQ      Revise amended DP petition               $440.00   1       $440.00
                         (without client input due to lack of
                         response)
  Jan 24, 2019   DS      Draft Statement of Facts for brief in    $485.00   1.7     $824.50
                         opposition to motion to dismiss
  Jan 25, 2019   DS      Review/respond to client email           $485.00   0.3     $145.50

  Jan 25, 2019   DS      Review revisions to brief, and           $485.00   1.7     $824.50
                         further attention to same
  Jan 25, 2019   LQ      TC and email with SGreenwald re:         $440.00   0.2      $88.00
                         2015 documents
  Jan 25, 2019   LQ      Research         expert        witness   $440.00   2.5    $1,100.00
                         disqualification
  Jan 26, 2019   DS      Work on Petition and Brief               $485.00   6      $2,910.00
                         throughout day; emails with client
  Jan 27, 2019   DS      Telephone conference with client         $485.00   1.8     $873.00
                         (D. AREDACTED ) re: revisions to due
                         process petition
  Jan 27, 2019   DS      Telephone conference with client         $485.00   3.8    $1,843.00
                         (D. AREDACTED ) re: revisions to due
                         process petition
  Jan 28, 2019   DS      Finalize motion papers and upload        $485.00   4.3    $2,085.50
                         for client delivery to Court; Email
                         re: same
  Jan 28, 2019   DS      Phone calls with client re: printing     $485.00   0.4     $194.00
                         and delivery of motion papers
  Jan 28, 2019   DS      Email to adversary re: electronic                  0           No
                         delivery of motion papers                                   Charge
  Jan 28, 2019   LQ      Review client revisions and finalize     $440.00   0.7     $308.00
                         due process petition
  Feb 04, 2019   DS      Briefly review adversary's Reply         $485.00   0.4     $194.00
                         Brief; draft email to client re: same
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  Feb 04, 2019   LA      Attention to call from court re brief;   $220.00   0.2      $44.00
                         discussion with DS re same
  Feb 04, 2019   JR      Attention to motion to amend             $495.00   0.5     $247.50
                         briefing.
  Feb 05, 2019   LA      Attention to preparing documents         $220.00   0.5     $110.00
                         for submission to OAL via USPS;
                         phone call with DS as to same;
                         FileShare and SharePoint issues
                         (resolved)
  Feb 05, 2019   LQ      Review District response (.3) and        $440.00   0.5     $220.00
                         internal discussion of next steps
  Feb 05, 2019   SD      Preparing AREDACTED Documents for        $165.00   0.2      $33.00
                         Shipment.
  Feb 05, 2019   JR      Further attention to motion to           $495.00   1.5     $742.50
                         amend;         strategy;        client
                         communications.
  Feb 12, 2019   DS      Emails and investigation as to           $485.00   0.3     $145.50
                         whether Court Conference will go
                         forward in light of storm
  Feb 14, 2019   DS      Prepare status memo for client,          $485.00   1.2     $582.00
                         including analysis of District's reply
                         brief
  Feb 25, 2019   DS      Review       motion      papers     in   $485.00   1.4     $679.00
                         preparation for call with Court
  Feb 25, 2019   DS      Final preparation for call with          $485.00   0.8     $388.00
                         Court; participate in call with Court
  Feb 25, 2019   DS      Review recording of Status Call          $485.00   0.1      $48.50

  Feb 25, 2019   DS      Attend to follow-up of status call       $485.00   0.2      $97.00

  Feb 25, 2019   DS      Prepare call summary and email to $485.00          1.5     $727.50
                         client
  Feb 25, 2019   DS      Phone call from J. L         to discuss $485.00    0.2      $97.00
                                             REDACTED



                         email issue
  Feb 26, 2019   LQ      Strategy for settlement discussions $440.00        0.2      $88.00

  Mar 15, 2019 DS        Detailed analysis of Transcript and      $485.00   2.4    $1,164.00
                         attention to settlement proposals
  Mar 18, 2019 LQ        Attention to GPA calculations and        $440.00   0.5     $220.00
                         accuracy of transcript
  Mar 20, 2019 LQ        Continued attention to GPA               $440.00   0.5     $220.00
                         calculation and transcript
  Apr 25, 2019 DS        Review Opinion on Motion for             $485.00   0.5     $242.50
                         Summary Decision
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  Apr 25, 2019 DS        Confer internally re; MSD Opinion       $485.00   0.4     $194.00
                         and strategy for handling matter
                         going forward
  Apr 25, 2019 JR        Correspondence with opposing            $495.00   0.5     $247.50
                         counsel.
  Apr 25, 2019 JR        Attention to strategy; legal research   $495.00   2.5    $1,237.50
                         with client re same; correspondence
                         with client re same.
  Apr 26, 2019 DS        Analyze Opinion and draft Memo to       $485.00   1.9     $921.50
                         client, including a summary of the
                         Opinion and an outline of potential
                         ways to proceed
  Apr 26, 2019 DS        Review J. Rue Memo; confer              $485.00   0.6     $291.00
                         internally re: strategy for handling
                         matter; finalize client memo and
                         send same
  Apr 26, 2019 JR        Attention to status memorandum to       $495.00   1.3     $643.50
                         client.
  May 06, 2019 DS        Review email from client; attend to     $485.00   0.9     $436.50
                         strategy for response; draft brief
                         response to client email
  May 06, 2019 DS        Phone call with D. AREDACTED            $485.00   1.4     $679.00

  May 06, 2019 DS        Review Answer; review motion for        $485.00   0.5     $242.50
                         reconsideration; email to client
  May 06, 2019 SD        Fax to Court re Objection to Request    $165.00   0.2      $33.00
                         for Reconsideration.
  May 09, 2019 DS        Email from adversary; draft email to    $485.00   0.4     $194.00
                         client with analysis of adversary's
                         request; exchange emails with
                         client, court and adversary
  May 17, 2019 DS        Review email from Court; draft          $485.00   0.3     $145.50
                         email to client
  May 20, 2019 DS        Review client email; email to           $485.00   0.3     $145.50
                         adversary/court; review J. Rue
                         email;     multiple    emails    re:
                         scheduling
  May 20, 2019 LQ        Review correspondence with client       $440.00   0.1      $44.00
                         re: settlement
  May 22, 2019 DS        Analyze grade issues; prepare GPA       $485.00   1       $485.00
                         calculations
  May 23, 2019 DS        Further attention to analysis of        $485.00   0.7     $339.50
                         grade issues; attend to scheduling
                         issues
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  May 29, 2019 DS        Email re: scheduling                  $485.00   0.1      $48.50

  May 30, 2019 LQ        Attention to settlement conference $440.00      0.1      $44.00
                         confirmation re: Sept 2019 dates
  May 31, 2019 DS        Draft email re: scheduling         $485.00      0.1      $48.50

  May 31, 2019 DS        Additional emails re: scheduling      $485.00   0.1      $48.50

  Jun 04, 2019   DS      Review email from Court; draft $485.00          0.1      $48.50
                         email to client
  Jun 10, 2019   DS      Phone call from D. AREDACTED   $485.00          0.4     $194.00

  Jun 10, 2019   JR      Further client communications re      $495.00   1.5     $742.50
                         strategy.
  Jun 11, 2019   DS      Review/revise draft email to client   $485.00   0.4     $194.00
                         re: options and recommendation
  Jun 18, 2019   DS      Prepare for client call; conference   $485.00   1.3     $630.50
                         call with client
  Jun 18, 2019   JR      Further attention to case strategy    $495.00   2.5    $1,237.50
                         and client advice; email re same.
  Aug 30, 2019 DS        Telephone call from D. AREDACTED      $485.00   0.5     $242.50

  Sep 06, 2019   DS      Phone call from D. AREDACTED          $485.00   0.5     $242.50

  Sep 27, 2019   DS      Phone call from D. AREDACTED          $485.00   0.5     $242.50

  Oct 03, 2019   DS      Draft proposed settlement letter, $485.00       1.6     $776.00
                         including analysis of transcripts and
                         identifying basis for proposed grade
                         changes
  Oct 03, 2019   DS      Draft email to client re: scheduling $485.00    0.2      $97.00

  Oct 04, 2019   DS      Review email traffic related to $485.00         0.4     $194.00
                         scheduling and handling; attend to
                         strategy for future handling
  Oct 07, 2019   DS      Review/respond to client email     $485.00      0.1      $48.50

  Oct 07, 2019   DS      Attend to strategy for handling       $485.00   0.1      $48.50

  Oct 07, 2019   DS      Email to Court and Counsel re: $485.00          0.1      $48.50
                         scheduling
  Oct 07, 2019   DS      Review/respond to client email $485.00          0.1      $48.50

  Oct 07, 2019   LQ      Attention        to       settlement $440.00    0.1      $44.00
                         communication and calendar dates
  Oct 16, 2019   DS      Review email from adversary; draft $485.00      0.3     $145.50
                         email to client re: same; draft brief
                         reply to adversary
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  Nov 25, 2019 SD        Call from Court, E-Mail to Don.           $165.00   0.1      $16.50

  Dec 10, 2019 DS        Review file and draft detailed $485.00              0.4     $194.00
                         follow-up email to client
  Dec 10, 2019 DS        Review client's responsive email $485.00            0.1      $48.50

  Dec 10, 2019 JR        Review letter from D.A.                   $495.00   0.2      $99.00

  Dec 12, 2019 JR        Respond to letter from D.A.               $495.00   0.4     $198.00

  Dec 16, 2019 SD        Review/Format/Upload         Notice,      $165.00   0.2      $33.00
                         Updating Case Tracking/Trial
                         Calendar.
  Dec 23, 2019 DS        Review status of file, including          $485.00   0.4     $194.00
                         recent voicemail, and draft email to
                         clients
  Jan 08, 2020   DS      Draft email to client re: status          $485.00   0.2      $97.00
                         conference strategy
  Jan 08, 2020   DS      Prepare for status call with Court;       $485.00   0.3     $145.50
                         status call with Court and adversary
  Jan 08, 2020   SD      Call from Pettineo, Fwd to Don.           $165.00   0.1      $16.50

  Jan 16, 2020   DS      Draft email to client re: authority for   $485.00   0.3     $145.50
                         dismissal, including file review re:
                         same
  Jan 16, 2020   SD      Review/Format/Upload                      $165.00   0.1      $16.50
                         Correspondence, Filing Paper Copy.
  Jan 20, 2020   DS      Draft     email    to     client    re:   $485.00   0.3     $145.50
                         confirmation of authorization for
                         dismissal and client's phone call
  Jan 27, 2020   KW      Attention AREDACTED re litigation         $275.00   0.5     $137.50
                         strategy.
  Feb 17, 2020   KW      Document review re dismissal              $275.00   1       $275.00
                         order.
  Feb 20, 2020   KW      Attention document review re case         $275.00   1       $275.00
                         docket.
  Mar 10, 2020 DS        Attend to strategy for appeal             $485.00   0.1      $48.50

  Mar 12, 2020 KW        Document review re AREDACTED              $275.00   2       $550.00
                         complaint.
  Mar 12, 2020 KW        Legal research re AREDACTED               $275.00   2       $550.00
                         complaint.
  Mar 13, 2020 KW        Legal research re AREDACTED               $275.00   2       $550.00
                         complaint.
  Mar 13, 2020 SD        Attention to Distinguishing Current       $165.00   0.8     $132.00
                         Electronic Case Files.
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  Mar 13, 2020 KW        Draft AREDACTED complaint.            $275.00   2       $550.00

  Mar 16, 2020 KW        Draft AREDACTED complaint.            $275.00   4      $1,100.00

  Mar 17, 2020 DS        Review/revise draft Preliminary $485.00         1.6     $776.00
                         Statement for Complaint; emails re:
                         same
  Mar 17, 2020 SD        E-Mail from Don, Working on $165.00             1.1     $181.50
                         SharePoint Directory for Client's
                         Files.
  Mar 17, 2020 KW        Draft AREDACTED complaint.          $275.00     3       $825.00

  Mar 17, 2020 SD        Working on SharePoint Files $165.00             0.5      $82.50
                         Directory cont.
  Mar 17, 2020 KW        Attention AREDACTED file clean-up. $275.00      0.25     $68.75

  Mar 18, 2020 KW        Draft AREDACTED complaint.            $275.00   3       $825.00

  Mar 20, 2020 KW        Attention to filing calendar.         $275.00   0.5     $137.50

  Apr 08, 2020 DS        Review/revise draft Complaint         $485.00   5.7    $2,764.50

  Apr 08, 2020 KW        Correspondence re draft complaint.    $275.00   0.5     $137.50

  Apr 15, 2020 DS        Review draft complaint and revise     $485.00   0.9     $436.50
                         same
  Apr 16, 2020 DS        Update causes of action in DNJ        $485.00   2.9    $1,406.50
                         complaint per J. Rue Comments;
                         related research
  Apr 20, 2020 DS        Make additional changes based on J.   $485.00   0.5     $242.50
                         Rue comments and forward to client
                         for approval
  Apr 20, 2020 KW        Correspondence with clients re        $275.00   0.5     $137.50
                         review of complaint.
  Apr 28, 2020 DS        Finalize Complaint, including         $485.00   3.2    $1,552.00
                         redaction and finalizing exhibits;
                         draft CCS; forward documents for
                         filing
  Apr 28, 2020 SD        E-Filing Federal Appeal of Due        $165.00   0.6      $99.00
                         Process Petition.
  Apr 28, 2020 SD        E-Filing Federal Appeal cont.         $165.00   0.1      $16.50

  Apr 28, 2020 SD        Review/Format/Upload        Docket $165.00      0.2      $33.00
                         Entry re Federal Complaint, Fwd to
                         John, Updating Case Tracking.
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  Apr 29, 2020 SD        Review/Format/Upload      Docket $165.00        0.1      $16.50
                         Entry/Notices                   re
                         Summons/Filings/Judge
                         Assignment,     Updating     Case
                         Tracking, Fwd to John.
  Jun 02, 2020   DS      Review draft Ack of Service; draft $485.00      0.5     $242.50
                         proposed email re: same
  Jun 02, 2020   KW      Draft Acknowledgment of Service. $275.00        1       $275.00

  Jun 15, 2020   DS      Review Ack of Service; draft          $485.00   0.2      $97.00
                         assignments related to same
  Jun 15, 2020   DS      Review Rule 11 letter from            $485.00   0.6     $291.00
                         adversary; preliminary analysis of
                         same, including brief related
                         research; draft project assignment
                         for response to letter
  Jun 15, 2020   SD      Review/Format/Upload                  $165.00   0.2      $33.00
                         Correspondence from Pettineo re
                         Acknowledgment of Service of
                         Summons and Complaint re Appeal,
                         Fwd to Don/John/Kenneth, Filing
                         Paper Copy.
  Jun 15, 2020   KW      Attention to filing Acknowledgment    $275.00   0.2      $55.00
                         of Service.
  Jun 15, 2020   SD      E-Filing     Acknowledgment      of   $165.00   0.2      $33.00
                         Service            re       Appeal
                         Complaint/Summons,        Updating
                         Calendar/Case Tracking re Answer
                         Deadline.
  Jun 15, 2020   JR      Review of materials sent by Wall.     $495.00   0.5     $247.50

  Jul 01, 2020   DS      Draft project assignment: Request     $485.00   0.2      $97.00
                         for Entry of Default
  Jul 01, 2020   DS      Draft response to Rule 11 letter,     $485.00   2.2    $1,067.00
                         including related research, and
                         circulate for internal review
  Jul 01, 2020   DS      Review/revise draft Request for       $485.00   0.6     $291.00
                         Entry of Default
  Jul 01, 2020   SD      Drafting Request for Entry of         $165.00   0.9     $148.50
                         Default, Sending to Don.
  Jul 02, 2020   DS      Review DNJ standing Orders re:        $485.00   0.4     $194.00
                         potential extension of deadlines
  Jul 02, 2020   DS      Finalize/file Request for Entry of    $485.00   1.2     $582.00
                         Default; finalize/serve response to
                         Rule 11 letter
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  Jul 02, 2020   KW      Review letter to Pettineo re Rule 11. $275.00     0.2      $55.00

  Jul 02, 2020   SD      Preparing Certified Correspondence      $165.00   0.4      $66.00
                         re Entry of Default/Rule 11
                         Sanctions to Pettineo, Leaving on
                         Anne's Desk for Shipment.
  Jul 02, 2020   SD      Review/Format/Upload         Docket     $165.00   0.1      $16.50
                         Entry re Request for Entry of
                         Default.
  Jul 02, 2020   SD      Review/Format/Upload         Clerk's    $165.00   0.1      $16.50
                         Entry of Default.
  Jul 03, 2020   KW      Review email correspondence re          $275.00   0.1      $27.50
                         informing client of the appeal of the
                         OAL decision on grades.
  Jul 03, 2020   KW      Correspondence with clients re          $275.00   0.2      $55.00
                         appeal update.
  Jul 06, 2020   DS      Phone call with J. Rue re: strategy     $485.00   0.2      $97.00
                         for response to Motion to Vacate
  Jul 06, 2020   JR      Attention to preliminary issues and     $495.00   1.2     $594.00
                         default.
  Jul 06, 2020   KW      Attention case strategy.                $275.00   0.2      $55.00

  Jul 07, 2020   SD      Review/Format/Upload      Docket $165.00          0.3      $49.50
                         Entries re Def. Motion to Vacate
                         Default, Updating Calendar/Case
                         Tracking.
  Jul 08, 2020   SD      Updating Calendar/Case Tracking $165.00           0.2      $33.00
                         re Deadline to Oppose Motion
                         Vacating Default.
  Jul 08, 2020   KW      Attention to filing.             $275.00          0.2      $55.00

  Jul 14, 2020   DS      Confer with F. Geier and K. Walk $485.00          0.3     $145.50
                         re: strategy for Motion for Default
                         judgment
  Jul 14, 2020   KW      Attention to litigation strategy.   $275.00       0.35     $96.25

  Jul 15, 2020   DS      Video Conference with F. Geier and $485.00        2.1    $1,018.50
                         K. Walk re: Cross-Motion for
                         Default Judgment; research re: rules
                         related to service of process; draft
                         detailed email with results of
                         research for inclusion in brief; draft
                         email with shell of brief to use as a
                         model
  Jul 15, 2020   KW      Correspondence re legal research.      $275.00    0.5     $137.50
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  Jul 16, 2020   DS      Review/revise draft of Point I of      $485.00   4.7    $2,279.50
                         brief
  Jul 16, 2020   KW      Draft Statement of Facts for Cross     $275.00   2       $550.00
                         Motion.
  Jul 16, 2020   FG      Draft Part 1 of Opposition to Motion   $385.00   1.5     $577.50
                         to Vacate Default and Cross Motion
                         for Default Judgment
  Jul 16, 2020   KW      Attention to Cross Motion.             $275.00   0.2      $55.00

  Jul 17, 2020   DS      Follow up on open projects             $485.00   0.1      $48.50

  Jul 17, 2020   DS      Review/revise draft brief in support $485.00     1.7     $824.50
                         of default judgment
  Jul 17, 2020   KW      Attention to Cross Motion.           $275.00     0.2      $55.00
  Jul 17, 2020   KW      Draft Part 2 for Cross Motion.         $275.00   4      $1,100.00

  Jul 20, 2020   DS      Work on cross-motion for default       $485.00   1.5     $727.50
                         judgment
  Jul 20, 2020   DS      Complete intermediate draft of brief   $485.00   1.2     $582.00
                         and circulate for internal review;
                         email to K. Walk re: information
                         needed for Statement of Facts
  Jul 20, 2020   DS      Work on Cross-Motion for default       $485.00   3.4    $1,649.00
                         judgment, including incorporating J.
                         Rue changes, updated Statement of
                         Facts, and finalizing all motion
                         papers
  Jul 20, 2020   KW      File Cross Motion.                     $275.00   4      $1,100.00

  Jul 20, 2020   KW      Correspondence re filing Cross         $275.00   1       $275.00
                         Motion.
  Jul 20, 2020   JR      Attention to opposition to motion to   $495.00   2.9    $1,435.50
                         vacate default.
  Jul 20, 2020   FG      Drafted insert for Brief in            $385.00   0.75    $288.75
                         opposition to motion to vacate
                         default and Cross Motion for
                         Default Judgment
  Jul 21, 2020   SD      Review/Format/Upload         Docket    $165.00   0.7     $115.50
                         Entries re Cross Motion for Default
                         Judgment,           Fwd           to
                         John/Kenneth/Geier,        Preparing
                         Courtesy Copy for Judge Wolfson,
                         CC to Judge Quraishi.
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  Jul 21, 2020   SD      Preparing Courtesy Copies of Cross       $165.00   0.2      $33.00
                         Motion for Judges cont., CC to
                         Pettineo (no encl.), Sending
                         Courtesy Copies.
  Jul 21, 2020   SD      Review/Format/Upload           Docket    $165.00   0.2      $33.00
                         Notice Scheduling Cross-Motion,
                         Updating Calendar/Case Tracking.
  Jul 23, 2020   DS      Draft email to client with briefs and    $485.00   0.6     $291.00
                         recommendations
  Jul 28, 2020   SD      Review/Format/Upload           Docket    $165.00   0.1      $16.50
                         Entry re Reply Brief re Motion to
                         Vacate Default.
  Jul 29, 2020   DS      Review/revise draft reply brief;         $485.00   1.7     $824.50
                         related research
  Jul 29, 2020   FG      Drafted sur-reply to Defendant's         $385.00   1.5     $577.50
                         reply to Opposition to Motion to
                         Vacate Default and Cross Motion
                         for Default Judgment
  Jul 30, 2020   DS      Work on motion for leave to file a       $485.00   0.9     $436.50
                         reply
  Jul 30, 2020   DS      Phone call with F. Geier re: Mtn for     $485.00   0.2      $97.00
                         Leave to file a Reply; email re: same
  Jul 30, 2020   DS      Work on reply brief on cross-motion      $485.00   0.6     $291.00
                         for default judgment
  Jul 30, 2020   FG      Drafted letter to Judge requesting       $385.00   1       $385.00
                         leave to file sur-reply to Defendant's
                         reply brief to Opposition to Motion
                         to Vacate Default and Cross-Motion
                         for Default Judgment
  Sep 28, 2020   DS      Review Opinion & Order entered by        $485.00   0.3     $145.50
                         the Court; draft email to clients re:
                         same
  Oct 05, 2020   SD      Review/Format/Upload           Docket    $165.00   0.3      $49.50
                         Entries        re      Answer       to
                         Complaint/Order re Scheduling
                         Teleconference, Fwd to John,
                         Updating Calendar/Case Tracking.
  Oct 22, 2020   DS      Draft Proposed Joint Discovery           $485.00   1.7     $824.50
                         Plan
  Nov 03, 2020 DS        Review adversary's comments to           $485.00   0.4     $194.00
                         proposed joint discovery plan;
                         revise same and draft email to
                         adversary re: same
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  Nov 03, 2020 DS        Draft status email to client, $485.00               0.3     $145.50
                         including file review
  Nov 09, 2020 DS        Check in on status; draft follow-up $485.00         0.2      $97.00
                         email to client
  Nov 10, 2020 DS        Draft follow-up email to client     $485.00         0.1      $48.50

  Nov 11, 2020 DS        Follow up with adversary on               $485.00   0.3     $145.50
                         comments to proposed joint
                         discovery plan
  Nov 11, 2020 DS        Finalize/file    Proposed      Joint      $485.00   0.4     $194.00
                         Discovery Plan
  Nov 12, 2020 SD        Review/Format/Upload         Docket       $165.00   0.1      $16.50
                         Entry re Joint Discovery Plan.
  Nov 12, 2020 SD        Checking       Magistrate     Judge       $165.00   0.1      $16.50
                         Quraishi's Judicial Preferences re
                         Courtesy Copies, E-Mail to Don re
                         Courtesy             Copies/Judicial
                         Preferences.
  Nov 19, 2020 DS        Prepare for Rule 16 Conference,           $485.00   1       $485.00
                         including review of proposed
                         stipulated facts and out line for
                         discussion; participate in Rule 16
                         Conference
  Nov 19, 2020 DS        Draft update email to client              $485.00   0.3     $145.50

  Nov 19, 2020 SD        Review/Format/Upload           Docket     $165.00   0.1      $16.50
                         Notices re Minute Entry/Text Order,
                         Updating Calendar/Case Tracking.
  Nov 23, 2020 DS        Draft email to client re: first part of   $485.00   0.4     $194.00
                         settlement proposal
  Dec 09, 2020 SD        Call to Client re Schedule Phone          $165.00   0.1      $16.50
                         Conference w Don.
  Dec 10, 2020 SD        E-Mail from Don re Client Call,           $165.00   0.2      $33.00
                         Follow-up Call to Client re
                         Schedule Call w Don, E-Mail to
                         Don re Client Call/E-Mail.
  Dec 21, 2020 DS        Emails to/from client                     $485.00   0.2      $97.00

  Dec 28, 2020 DS        Analyze new transcript and add to $485.00           1.1     $533.50
                         chart; create chart of potential grade
                         changes and draft email to client re:
                         same
  Dec 30, 2020 DS        Review/revise draft email to client    $485.00      0.2      $97.00
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  Dec 30, 2020 SD        Review/Format/Upload      Docket $165.00            0.2      $33.00
                         Entry re Letter re Dismissal/Text
                         Order re Status Teleconference,
                         Fwd      to     John,   Updating
                         Calendar/Case Tracking.
  Jan 06, 2021   DS      Phone call from client            $485.00           0.1      $48.50

  Jan 06, 2021   DS      Review information provided by $485.00              3      $1,455.00
                         client; work on settlement letter
  Jan 08, 2021   DS      Work on settlement position letter $485.00          0.4     $194.00

  Jan 08, 2021   DS      Phone call with client re: settlement     $485.00   1.5     $727.50
                         position; final preparation for court
                         conference; court conference
  Jan 08, 2021   DS      Review client comments on letter;         $485.00   1       $485.00
                         finalize and serve same; draft email
                         to client
  Jan 08, 2021   DS      Review docket entries; draft letter to    $485.00   0.5     $242.50
                         Magistrate; attention to filing same
  Jan 11, 2021   DS      Phone call with D. Augustyn to            $485.00   1.2     $582.00
                         discuss GPA and other issues with
                         2019 transcript; follow-up email re:
                         same
  Jan 11, 2021   SD      Review/Format/Upload           Docket     $165.00   0.1      $16.50
                         Notices/Entries       re       Minute
                         Entry/Test Order/Soutar Letter, Call
                         to Don re Text Order Deadline.
  Jan 25, 2021   DS      Exchange emails with adversary re:        $485.00   0.1      $48.50
                         prospects for settlement
  Jan 26, 2021   DS      Draft status email to client              $485.00   0.2      $97.00

  Jan 26, 2021   DS      Exchange emails with client re:           $485.00   0.1      $48.50
                         settlement
  Jan 28, 2021   DS      Prepare for and participate in status     $485.00   0.8     $388.00
                         call with Court; draft email to client,
                         summarizing status call and
                         recommending settlement counter-
                         offer
  Jan 29, 2021   DS      Attend to GPA calculations and            $485.00   0.7     $339.50
                         settlement analysis
  Feb 25, 2021   SD      E-Mail to Don re GPA Analysis             $165.00   0.1      $16.50
                         Assignment.
  Mar 08, 2021 DS        Draft email to client, following up       $485.00   0.5     $242.50
                         on request for settlement proposal;
                         draft email to adversary
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  Mar 17, 2021 DS        Review/respond to client email,         $485.00   0.4     $194.00
                         including finalizing chart of
                         settlement proposal
  Mar 18, 2021 SD        Review/Format/Upload           Docket   $165.00   0.1      $16.50
                         Notice/Text Order re Minute
                         Entry/Cross Motions, Updating
                         Calendar/Case Tracking.
  Mar 26, 2021 DS        Draft follow-up email to client re:     $485.00   0.1      $48.50
                         settlement counter-proposal
  Apr 08, 2021 DS        Draft Motion for Summary                $485.00   2.5    $1,212.50
                         Judgement; work on stipulated facts
  Apr 08, 2021 DS        Finalize Stipulation of Facts and       $485.00   0.3     $145.50
                         draft email transmitting same
  Apr 08, 2021 DS        Review/revise draft brief and           $485.00   5      $2,425.00
                         SOMF; draft assignments for
                         paralegal
  Apr 09, 2021 DS        Complete intermediate draft of brief    $485.00   0.3     $145.50
                         and circulate for internal review
  Apr 09, 2021 DS        Review/revise/finalize draft motion     $485.00   3.5    $1,697.50
                         papers and file same
  Apr 09, 2021 SD        Review/Format/Upload           Docket   $165.00   0.1      $16.50
                         Entry re Stipulation of Facts, Fwd to
                         John.
  Apr 09, 2021 SD        Attention to Don's E-Mail re Motion     $165.00   1       $165.00
                         for Summary Judgment, Drafting
                         Notice        of       Motion/Soutar
                         Certification/Proposed         Order,
                         Working on Citations in Statement
                         of Undisputed Facts.
  Apr 09, 2021 SD        Working       on     Statement     of   $165.00   0.7     $115.50
                         Undisputed Facts cont., Working on
                         Brief Citations/Table of Authorities,
                         E-Mail to Don, Call from John re
                         Brief.
  Apr 09, 2021 JR        Researching, drafting, and refining     $495.00   4.4    $2,178.00
                         SJ brief.
  Apr 12, 2021 SD        Review/Format/Upload           Docket   $165.00   0.3      $49.50
                         Entries/Notice re Motions for
                         Summary Judgment, Updating
                         Calendar/Case Tracking, Fwd to
                         John.
  Apr 16, 2021 DS        Internal     communications       re:   $485.00   0.1      $48.50
                         strategy and handling
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  Apr 16, 2021 JR        Legal research and drafting              $495.00   4.4    $2,178.00
                         opposition to MSJ.
  Apr 18, 2021 JR        Further attention to research and        $495.00   2.9    $1,435.50
                         drafting opposition to MSJ.
  Apr 19, 2021 DS        Review/revise brief; finalize same       $485.00   1.9     $921.50
                         and finalize certification of service;
                         file same
  Apr 19, 2021 JR        Finalizing brief in opp to MSJ.          $495.00   1.5     $742.50

  Apr 20, 2021 SD        Review/Format/Upload       Docket $165.00          0.1      $16.50
                         Entries re Briefs in Opposition to
                         Summary Judgments, Fwd to John.
  Apr 20, 2021 SD        Drafting Notice of Appearance for $165.00          0.3      $49.50
                         John, Sending to Don.
  Apr 25, 2021 DS        Draft Reply Brief                  $485.00         1.5     $727.50

  Apr 26, 2021 DS        Work on draft Reply Brief; draft $485.00           3.9    $1,891.50
                         Reply        Certification;     Draft
                         Certification of Service (--/3.9)
  Apr 26, 2021 DS        Incorporate J. Rue comments to $485.00             0.8     $388.00
                         brief; finalize and file same
  Apr 26, 2021 JR        Review and revise reply brief.        $495.00      1.5     $742.50

  Apr 27, 2021 SD        Review/Format/Upload        Docket       $165.00   0.1      $16.50
                         Entry re Motion for Summary
                         Judgement Reply Briefs, Fwd to
                         John, E-Mail to John/Don re Sealed
                         Documents.
  Apr 28, 2021 SD        Review/Format/Upload Defendant           $165.00   0.1      $16.50
                         Reply Brief re Motion for Summary
                         Judgment, Fwd to John.
  Jun 29, 2021   SD      Review/Format/Upload        Docket       $165.00   0.1      $16.50
                         Notice re Judge Reassignment,
                         Updating Case Tracking.
  Nov 19, 2021 JR        Attention to DNJ decision; strategy      $495.00   2.5    $1,237.50
                         and planning.
  Nov 19, 2021 JR        Preliminary attention to transition      $495.00   1.1     $544.50
                         issues.
  Nov 22, 2021 DS        Review Opinion & Order from              $485.00   1.4     $679.00
                         DNJ; internal phone calls and
                         emails re: same
  Nov 24, 2021 SD        Review/Format/Upload        Docket       $165.00   0.1      $16.50
                         Notice re Case Terminated,
                         Updating Case Tracking/Calendar
                         re Fee Application/Case Status.
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  Nov 29, 2021 DS        Draft summary for client              $485.00   0.7       $339.50

  Nov 30, 2021 JR        Attention to fee demand.              $495.00   0.5       $247.50

  Nov 30, 2021 DS        Complete draft email to client;       $485.00   0.9       $436.50
                         meeting to discuss open issues and
                         strategy for moving forward
  Dec 01, 2021 SD        Review/Format/Upload        Docket    $165.00   0.1        $16.50
                         Entry re Thurston Notice of
                         Appearance, Fwd to John.
  Dec 10, 2021 JR        Attention     to    fee   demand;     $495.00   1.2       $594.00
                         correspondence with adversary.
  Dec 10, 2021 JR        Attention to scheduling.              $495.00   0.5       $247.50

  Dec 13, 2021 SD        Review/Format/Upload       Docket $165.00       0.2        $33.00
                         Entries    re   Fee    Application
                         Deadlines, Fwd to John, Updating
                         Calendar/Case Tracking.
  Dec 16, 2021 JR        Email with adversary re settlement $495.00      0.3       $148.50
                         of fees.
  Jan 10, 2022   JR      Attention to fee application $495.00            1.1       $544.50
                         materials.
  Jan 12, 2022   CW      JRA filings; Letter tolling fee $75.00          0.4        $30.00
                         petition; fee petition proposed
                         order; Order Granted
  Jan 13, 2022   CW      JRA filings; Order Granted          $75.00      0.2        $15.00

  Jan 13, 2022   JR      Attention         to       supporting $495.00   0.7       $346.50
                         certifications.

  ******       Expenses ******
  Apr 28, 2020          PACER; Filing Fee re Complaint $400.00           Expense   $400.00
                        Appealing OAL Decision.
  Jul 06, 2020          Certified mail payment.         $7.10            Expense     $7.10

  Jul 21, 2020           Neopost; Postage re CCs of Cross- 2@$2.20 Expense           $4.40
                         Motion to Judges Wolfson and
                         Quraishi.
  Jul 21, 2020           Neopost; CC of Cross Motion $0.50         Expense           $0.50
                         Courtesy Copy Cover Letter to
                         Pettineo.
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                                                                           Total Fees           $151,278.75
                                                                           Total Expenses          $412.00
                                                                           Subtotal             $151,690.75
                                                                           Past Due Balance           $0.00
                                                                           Total                $151,690.75

                                                                           Please pay : $151,690.75



                        Timekeeper Summary
 Timekeeper                             Hours          Fee Billed
 SD - Sean Dalrymple [Paralegal]        40.40 h        $6,666.00
 FG - Frank Geier [Associate]           4.75 h         $1,828.75
 LA - Latiah Griffin [Law Clerk]        7.70 h         $1,694.00
 LQ - Lisa Quartarolo [Of Counsel]      51.70 h        $22,748.00
 JR - John Rue [Partner]                50.00 h        $24,750.00
 DS - Donald Soutar [Partner]           175.70 h       $83,482.00
 KW - Kenneth Walk [Associate]          36.60 h        $10,065.00
 CW - Claire Walsh [Legal Assistant]    0.60 h         $45.00

 Total                                       367.45 h $151,278.75



                    Payments (As of 02/11/2022)
 Date             Invoice#                Amount

 Total                                       $0.00




 Total billed including this                (Fees: $151278.75, Expenses: $412.00,
                               $151690.75
 Invoice                                    Discounts:$0.00)



 This invoice is a "pro forma," provided for your information only. No payment is due at this
 time.
